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                                           UNITED STATES DISTRICT COURT
                                               DISTRICT OF COLUMBIA

               UNITED STATES OF AMERICA
                                                              No. 21-cr-399 (RDM)
                            Plaintiff,
               v.

               ROMAN STERLINGOV

                            Defendant.

                         SUPPLEMENTAL SUMMARY OF QUALIFICATIONS AND EXPECTED
                                   TESTIMONY FOR JONELLE STILL

                     Mr. Sterlingov intends to call JONELLE STILL (“Ms. Still”) as an expert witness. Her

            qualifications, along with her expert report written in conjunction with Ciphertrace and produced

            to the Government in this Court and a review and analysis of relevant records, reports, facts, and

            evidence produced by the Government set forth the basis for her expected testimony.

                     Ms. Still is an Air Force veteran and serves as Ciphertrace’s Director of Cryptocurrency

            Investigations and Intelligence, as the terrorism financing Subject Matter Expert, and as a Co-

            Chair of the Defenders League – a pro-bono crypto investigations service. In her role as a

            recognized global expert in on-chain forensics, she trains: law enforcement, law firms, domestic

            and foreign government agencies, and financial crime specialists. She is a regular contributor to

            Ciphertrace’s quarterly Cryptocurrency Anti-Money Laundering report and presents on these

            critical topics at the Organization for Security and Co-operation in Europe, European Union

            Agency for Law Enforcement Training, Europol, INTERPOL and the United Nations Office for

            Drugs and Crime. Ms. Still is a member of the Institute of Security and Technology Ransomware

            Task Force in Washington D.C., and the Blockchain and Distributed Ledger Technologies

            Special Interest Group which focuses on Financial Crime and Human Trafficking. In October

            2023, she will present to the European Commission as part of an experts’ conference to counter

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            terrorist financial networks in Brussels, Belgium. In November, 2023, she will train, in

            conjunction with CEPOL, judges and prosecutors on best practices for cryptocurrency analysis in

            court cases.

                     Ms. Still’s testimony is rooted in her extensive theoretical and practical expertise in on-

            chain blockchain forensics, including her work for Ciphertrace, a Mastercard company.

            Ciphertrace received seed funding from Defense Advanced Research Projects Agency

            (“DARPA”). Ms. Still’s testimony is based on her review of the discovery and the public

            Bitcoin, Ethereum, and Moneo networks. Her analysis utilizes a combination of public and

            proprietary tracing technologies including Mempool, Bitaps, Sentry, and Inspector.

                     Ms. Still is well-versed in the diverse tools used for blockchain forensic tracing and will

            discuss her efforts to replicate the Government's tracing methods for the crucial aspects of the

            Government’s case. This includes her efforts to replicate the tracing work and analysis done by

            the Government’s proffered expert witnesses Luke Scholl and Elizabeth Bisbee of Chainalysis as

            contained in their expert reports.

                     At the August 22nd and 23rd Daubert hearings, as well as at trial, the Defense expects Ms.

            Still to testify regarding the following:

                         1. She will testify to her and Ciphertrace’s review of the Government’s blockchain

                             tracing forensics in this case, particularly as to work done using Chainalysis

                             Reactor and the errors, omissions and inconsistencies in the Government’s and

                             Chainalysis’s work.

                         2. She will testify as to the contents of Ciphertrace’s expert report produced to both

                             the Court and the Government via email on August 7, 2023.




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                         3. She will explain how the Government’s tracing fails to verify that Mr. Sterlingov

                             is the operator of Bitcoin Fog and how the patterns of the transactions are

                             inconsistent with ownership, creation or administration of the service.

                         4. She will testify as to the lack of contextual analysis in the Government’s and

                             Chainalysis’s expert reports and how the Government and Chainalysis ignore on-

                             chain transactions from Bitcoin Fog to wallets not controlled by Mr. Sterlingov,

                             that could be controlled by the real operators and administrators of Bitcoin Fog.

                         5. She will testify as to peel chain typologies and their relevance to this case.

                         6. She will testify to best practices in the attribution process which includes

                             collection, storage, and audits.

                         7. She will testify that blockchain tracing is an emerging technology that has no

                             recognized standards, no oversight, no governing standards body akin to the

                             Institute of Electrical and Electronics Engineers (“IEEE”) - which governs

                             standards for the internet, or the United States Government’s National Institute for

                             Standards in Technology (“NIST”) - which govern standards in physical sciences,

                             and no scientific consensus as to the validity or accuracy of the methodologies.

                         8. She will testify to the inherent limitations in the clustering heuristics and tracing

                             methodology involved with the Government’s use of Chainalysis Reactor and

                             other blockchain tracing software in this case.

                         9. She will testify that Chainalysis’s use of single-entity clustering leads to error,

                             and her experience with this type of error occurring on a regular basis with law

                             enforcement and other Chainalysis clients on a global scale.




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                         10. She will testify to the inherent limitations and misconceptions regarding the

                             heuristics used for Chainalysis’s clustering.

                         11. She will testify to the fundamentals of blockchain and distributed ledger

                             technology and their relationship to cryptocurrency.

                         12. She will testify to the strengths and limitations of public and proprietary tools.

                         13. She will testify to the nature of CoinJoin, mixers, PayJoins, and other obfuscation

                             techniques that break the assumptions (heuristics) used in the Government’s and

                             Chainalysis’s investigation.

                         14. She will testify to the process of transferring value between cryptocurrency and

                             fiat currency.

                         15. She will testify generally to the crypto culture.

                         16. She will explain the difference between custodial and non-custodial wallets

                             including personally held wallets, services and exchanges.

                         17. She will explain how cryptocurrency exchanges, such as KuCoin, Huobi Global

                             and Gemini, make the best mixers because of KYC policies and the nature of their

                             internal accounting methods that include off-chain transactions, OTC brokers, and

                             off-chain services provided to high-net worth individuals, all of which obfuscate

                             ownership and control.




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                         18. The Defense expects Ms. Still to testify in rebuttal to the government's expert

                             testimony. The content of Ms. Still’s rebuttal testimony is contingent on the

                             substance of testimony from the witnesses produced by the Government in the

                             Hearings and at trial.




                      Witness Attestation

                      I, Jonelle Still, have reviewed and approve the contents of this
                      filing.


                                                                     8/7/2023
                      ____________________                          ______________

                      Jonelle Still                                 Date
                      Ciphertrace




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